Case 3:12-cr-00312-JAH   Document 16   Filed 04/26/12   PageID.18   Page 1 of 1



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 7                         UNITED STATES DISTRICT COURT
 8                        SOUTHERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA      )       Case No. 12-CR-312-JAH
10                                 )
                    Plaintiff,     )
11                                 )
          v.                       )       JUDGMENT AND ORDER OF DISMISSAL
12                                 )       OF INDICTMENT
     LETICIA PANO-TORRES (1),      )
13   LUIS ALVERTO CHAVEZ (2),      )
                                   )
14                  Defendants.    )
     ______________________________)
15
16        Upon motion of the UNITED STATES OF AMERICA and good cause
17   appearing,
18        IT IS HEREBY ORDERED that the indictment in Case No. 12-CR-312-
19   JAH against defendant LUIS ALVERTO CHAVEZ (2) be dismissed without
20   prejudice.
21        IT IS SO ORDERED.
22        DATED: April 25, 2012
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                                       HONORABLE JOHN A. HOUSTON
25                                     United States District Judge
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